               Case 22-11068-JTD              Doc 1417         Filed 05/03/23         Page 1 of 16




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Obj. Deadline: May 10, 2023 at 4:00 p.m. (ET)
                                                                Hearing Date: May 17, 2023 at 1:00 p.m. (ET)


         MOTION OF THE DEBTORS FOR ENTRY AN ORDER (I) ENFORCING
               THE AUTOMATIC STAY AND (II) AWARDING THE
                 DEBTORS ATTORNEYS’ FEES AND EXPENSES

                  Debtors FTX Trading Ltd. (“FTX Trading”), FTX Canada Inc. (“FTX Canada”),

and their affiliated debtors and debtors-in-possession (collectively, the “Debtors”) hereby submit

this motion (“Motion”) for entry of an order substantially in the form attached hereto as Exhibit 1

(the “Order”), pursuant to sections 362 and 105 of title 11 of the United States Code, 11 U.S.C.

§§ 101 et seq. (“Bankruptcy Code”), for entry of an order (i) enforcing the automatic stay against

Pateno Payments Inc. (“Pateno”) and their pursuit of the Pateno Litigation (as defined below) and

(ii) awarding the Debtors attorneys’ fees and expenses against Pateno for its willful violation of

the automatic stay and this Court’s Automatic Stay Order. In support of the Motion, the Debtors

respectfully state as follows:

                                     PRELIMINARY STATEMENT 2

                  1.       In February 2023, more than three months after the commencement of these

Chapter 11 Cases, Pateno initiated the Pateno Litigation against Debtor FTX Canada and the


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
2
    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the body of this
{1368.002-W0070764.}
               Case 22-11068-JTD        Doc 1417        Filed 05/03/23   Page 2 of 16




Escrow Agent in the Court of King’s Bench of Alberta, Canada. Through that litigation, Pateno

seeks an order compelling the release of a $2,000,000 deposit made by FTX Canada prior to filing

its bankruptcy petition with this Court in connection with a transaction that has not closed. The

deposit has been held at all times by the Escrow Agent in the name of FTX Canada. The Debtors’

ongoing investigation into the underlying transaction—to purchase the shares of the Canadian

cryptocurrency exchange Bitvo Inc.—reveals that FTX Canada had on the Petition Date and

continues to have a property interest in the deposit.

                  2.   If Pateno claims an entitlement to that $2,000,000 deposit, its options are to

file a claim in these Chapter 11 Cases, or file a motion with this Court seeking stay relief to pursue

its claims in Canada. Pateno had done neither. Instead, despite being put on express notice of the

Debtors’ property interest in the deposit and the application of section 362 of the Bankruptcy Code

by letter in December 2022, Pateno consciously made the decision to ignore both the automatic

stay and this Court’s Automatic Stay Order, and filed litigation against FTX Canada in Canada.

                  3.   As a result, FTX Canada requires assistance from this Court to stop Pateno’s

willful stay violation and to hold it accountable. These chapter 11 cases are global in scope and

massive in reach.      The Debtors’ ability to effectively manage their complex worldwide

restructuring and resolve potentially millions of creditor claims is jeopardized by the type of self-

help that Pateno has undertaken to commence litigation at a time and place of its choosing. That

is precisely what the automatic stay prevents. The Debtors therefore request entry of the Order,

which FTX Canada will take to the Canadian Court and seek its enforcement there.




    Motion.



{1368.002-W0070764.}                             -2-
               Case 22-11068-JTD            Doc 1417         Filed 05/03/23       Page 3 of 16




                                              BACKGROUND

         A.       The Debtors and Their Chapter 11 Cases

                  4.      On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), 3 the Debtors filed with the United States Bankruptcy Court for the District of Delaware

(the “Court”) voluntary petitions for relief under the Bankruptcy Code (the “Chapter 11 Cases”).

The Debtors continue to operate their businesses and manage their properties as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Joint administration

of the Debtors’ cases was authorized by the Court by entry of an order on November 22, 2022 [D.I.

128]. On December 15, 2022, the Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors (the “Committee”)

pursuant to section 1102 of the Bankruptcy Code [D.I. 231].

                  5.      On November 22, 2022, this Court entered its Order Enforcing Sections

362, 365(e)(1), 525 and 541 of the Bankruptcy Code [D.I. 137] (the “Automatic Stay Order”),

which, among other things, provides that pursuant to section 362(a) of the Bankruptcy Code, all

persons—regardless of whether located in the United States or a foreign jurisdiction, “are stayed,

restrained, and enjoined from . . . taking any action, whether inside or outside the United States, to

obtain possession of property of the estates or to exercise control over property, wherever located,

of the Debtors’ estates.” (Automatic Stay Order ¶ 2(d).) In addition, the Automatic Stay Order

specifically requests that courts of competent jurisdiction “take all appropriate measures required

to enforce and recognize these Chapter 11 Cases, including, but not limited to, application of the

worldwide automatic stay and all other orders entered in these Chapter 11 Cases in the relevant

jurisdiction.” (Id. ¶ 4.)



3
    November 11, 2022 is the Petition Date for all Debtors, except for Debtor West Realm Shires Inc.



{1368.002-W0070764.}                                   -3-
               Case 22-11068-JTD              Doc 1417         Filed 05/03/23        Page 4 of 16




                  6.      Additional pertinent factual background regarding the Debtors’ businesses

and the commencement of these Chapter 11 Cases are set forth in the Declaration of John J. Ray

III in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24] and the Supplemental

Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92].

         B.       The SPA, Escrow Agreement and Deposit

                  7.      Prior to the Petition Date, FTX Canada, FTX Trading, and Pateno , a

corporation existing under the Laws of the Province of Alberta, entered into a share purchase

agreement, dated as of June 14, 2022 (the “SPA”).

                  8.      The SPA contemplated the purchase by FTX Canada from Pateno of all of

the issued and outstanding shares in the capital of Bitvo Inc., a cryptocurrency exchange organized

as a corporation existing under the Laws of the Province of Alberta (“Bitvo”), for $12,500,000

(subject to certain adjustments). (Ex. A at § 2.1.) 4

                  9.      The SPA provided that FTX Canada would deliver a deposit of $2,000,000

(the “Deposit”) to TSX Trust Company, a company existing under the laws of Canada (the

“Escrow Agent”), to be held in an interest-bearing account with interest to accrue to the account

of FTX Canada. (Ex. A at § 2.5.)

                  10.     In connection with the entry into the SPA, FTX Canada, Pateno and the

Escrow Agent, also entered into a cash escrow agency agreement, dated as of June 14, 2022 (the

“Escrow Agreement”) pursuant to which FTX Canada delivered the Deposit to the Escrow Agent.

The Escrow Agreement provides that the Deposit will be held by the Escrow Agent in the name




4
    With the exception of the proposed Order attached hereto as Exhibit 1, all citations to exhibits refer to documents
    attached the Declaration of Brian D. Glueckstein In Support of the Motion of the Debtors for Entry of an Order
    (I) Enforcing the Automatic Stay and (II) Awarding the Debtors Attorneys’ Fees and Expenses.



{1368.002-W0070764.}                                     -4-
               Case 22-11068-JTD       Doc 1417        Filed 05/03/23   Page 5 of 16




of FTX Canada. (Ex. B at § 3.2.) Under the terms of the Escrow Agreement, the Deposit may only

be released by a joint direction to the Escrow Agent from FTX Canada and Pateno. (Id. at § 3.3.)

                  11.   As a condition to closing, the SPA required that Pateno seek and obtain pre-

approval of the transaction from the Canadian Securities Administrators (“CSA”). (Ex. A at

§ 6.5.) As of the Petition Date, the CSA pre-approval had not been obtained, and the various

closing conditions had not been met. As a result, on the Petition Date, neither FTX Canada nor

Pateno was obligated to close the transaction under the terms of the SPA.

                  12.   The SPA also contains certain termination provisions.         (Id. at § 5.)

Critically, none of the termination events are automatic; rather if a termination event occurred in

favor of a party, termination would only become effective “in each case, with immediate effect

upon delivery of written notice of termination or upon entering into a mutual agreement . . . .”

(Id.) Termination rights vest upon (a) by written agreement of FTX Canada and Pateno; (b) FTX

Canada in the event of certain breaches by Pateno; (c) Pateno in the event of certain breaches by

FTX Canada; (d) either FTX Canada or Pateno if the closing date has not occurred by the specified

“Outside Date”; and (e) either party for certain orders and injunctions with respect to the

transaction. (Id.)

                  13.   The SPA originally specified October 14, 2022, as the Outside Date.

However, on October 3, 2022, FTX Canada and Pateno agreed to extend the Outside Date to

November 14, 2022. (Ex. H.) As a result, the Outside Date did not occur until after the Petition

Date.

                  14.   The basis by which the SPA is terminated matters with respect to resolving

the dispute over the Deposit. In some termination scenarios the Deposit is to be paid to Pateno.

In others the Deposit is to be returned to FTX Canada. In still others the Deposit is to be split.




{1368.002-W0070764.}                             -5-
               Case 22-11068-JTD       Doc 1417       Filed 05/03/23    Page 6 of 16




More specifically, in the event of termination of the SPA (i) by Pateno for certain breaches by FTX

Canada or (ii) by either FTX Canada or Pateno if the closing date has not occurred by the Outside

Date due to failure to obtain, among other things, the CSA approval, then the SPA contemplates

either 50% or all of the Deposit, as applicable, and any accrued interest thereon, shall be released

to Pateno. (Id. at § 5.2(c).) In the event of termination of the SPA in any other circumstances, the

SPA provides that the Deposit and any accrued interest thereon shall be returned in full, without

deduction or set-off, to FTX Canada. (Id. at § 5.2(d).) As of the Petition Date, the SPA was in full

force and effect.

         C.       Pateno’s Willful Violation of the Automatic Stay

                  15.   On November 15, 2022, Pateno executed a notice (the “Termination

Notice”) purporting to terminate the SPA with immediate effect in accordance with Section 5.1(d)

of the SPA, which is the provision stating that either FTX Canada or Pateno may elect to terminate

if the closing date shall not have occurred on or before the Outside Date. (Ex. C.) The Termination

Notice was accompanied by a form of joint direction to the Escrow Agent instructing release of

the Deposit to Pateno and executed on behalf of Pateno. FTX Canada did not countersign the form

of joint direction.

                  16.   On December 5, 2022, Pateno sent a letter to FTX Canada threatening legal

action in the event FTX Canada did not agree to release the Deposit to Pateno by executing the

joint direction on or before December 16, 2022 (the “December 5 Letter”). (Ex. D.)

                  17.   On December 16, 2022, the Debtors’ bankruptcy counsel sent a letter to

Canadian counsel to Pateno on behalf of the Debtors, including FTX Canada (the “Stay Violation

Letter”), disputing both that the Termination Notice had any legal effect under the circumstances

and that there was any basis to release the Deposit to Pateno. (Ex. E.) The Stay Violation Letter




{1368.002-W0070764.}                            -6-
               Case 22-11068-JTD           Doc 1417        Filed 05/03/23     Page 7 of 16




further advised that Pateno’s actions to date had included violations of the automatic stay imposed

pursuant to the Bankruptcy Code, and that the Debtors reserved all rights and remedies.

                  18.    Importantly, the Stay Violation Letter explained that taking action before

the Court of King’s Bench of Alberta threatened in the December 5 Letter “would constitute a

flagrant violation of the bankruptcy stay” and could subject Pateno to penalties, including costs.

(Id.)

                  19.    On February 16, 2023, Pateno, with knowledge of the situation detailed on

the Debtors’ Stay Violation Letter, proceeded to commence an action before the Court of King’s

Bench of Alberta (the “Canadian Court” and such litigation, the “Pateno Litigation”). The Pateno

Litigation seeks (i) a declaration that FTX Canada is not entitled to the Deposit, (ii) an order

effecting the release of the Deposit to Pateno notwithstanding the SPA’s requirement that the

Deposit only be released by a joint direction to the Escrow Agent from FTX Canada and Pateno,

(iii) costs and (iv) any further action as the court may deem just. 5 (Ex. F.)

                  20.    On March 31, 2023, FTX Canada asked the Canadian Court for an

adjournment to provide the Debtors sufficient time to discuss with their stakeholders and further

consider the claims asserted by Pateno. (Ex. G.) The adjournment request noted that FTX Canada

would likely seek relief from this Court. (Id. ¶ 6.) On April 13, 2023, the Canadian Court granted

the Debtors’ motion for an adjournment of the Pateno Litigation and set a return date of May 29,

2023.

                                            JURISDICTION

                  21.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District


5
         The case is captioned Pateno Payments Inc. v. FTX Canada Inc. and TSX Trust Company, No. 2301-02187.



{1368.002-W0070764.}                                 -7-
               Case 22-11068-JTD       Doc 1417        Filed 05/03/23   Page 8 of 16




Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicate for the relief requested herein is section 362(a)(3) of the Bankruptcy

Code. Pursuant to Rule 9013 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors consent to

the entry of a final order or judgment by the Court in connection with this Motion.

                                     RELIEF REQUESTED

                  22.   By this Motion, the Debtors request entry of the Order, substantially in the

form of Exhibit 1 attached hereto, (i) enforcing the automatic stay as to Pateno and the Pateno

Litigation, and (ii) awarding the Debtors attorneys’ fees and expenses against Pateno for its willful

violation of the automatic stay.

                                      BASIS FOR RELIEF

I.       THE PATENO LITIGATION IS BARRED BY THE AUTOMATIC STAY
         BECAUSE THE DEPOSIT IS PROPERTY OF THE DEBTORS’ ESTATES

                  23.   Section 362 of the Bankruptcy Code automatically stays “any act to obtain

possession of property of the estate or of property from the estate or to exercise control over

property of the estate.” 11 U.S.C. § 362(a)(3). This automatic stay is not limited to property for

which the debtor holds title, but rather includes any property “in which the debtor has a legal,

equitable or possessory interest,” including “beneficial rights and interest that the debtor may have

in property of another.” In re Ramirez, 183 B.R. 583, 587 (B.A.P. 9th Cir. 1995) (citation omitted);

see 11 U.S.C. § 541(a)(1) (the estate includes “all legal or equitable interests of the debtor in

property as of the commencement of the case”).




{1368.002-W0070764.}                             -8-
               Case 22-11068-JTD        Doc 1417       Filed 05/03/23     Page 9 of 16




                  24.   Moreover, the automatic stay applies even to property “to which the debtor

has only an arguable claim of right.” In re Glob. Outreach, S.A., 2009 WL 1606769 at *7 (Bankr.

D.N.J. June 8, 2009) (quoting Brown v. Chesnut, 422 F.3d 298, 303 (5th Cir. 2005)); see also

Denby-Peterson v. Nu2u Auto World, 595 B.R. 184, 194 (D.N.J. 2018), aff’d sub nom. In re Denby-

Peterson, 941 F.3d 115 (3d Cir. 2019) (“property [that is] only arguably a part of the estate is

subject to the automatic stay”). The purpose of this rule is to prevent “particular creditors from

acting unilaterally in self-interest to obtain payment from a debtor to the detriment of other

creditors.” Maritime Elec. Co., Inc. v. United Jersey Bank, 959 F.2d 1194, 1204 (3d Cir. 1991).

It does this by “centraliz[ing] all prebankruptcy civil claims against a debtor in the bankruptcy

court,” McCartney v. Integra Nat. Bank N., 106 F.3d 506, 511 (3d Cir. 1997), thus allowing this

Court to make a final determination of the ownership and disposition of assets, which would be

impossible if creditors use proceedings in other courts to raid the estate.

                  25.   This Court’s Stay Enforcement Order reaffirmed these principles and

specifically ordered that pursuant to section 362(a) of the Bankruptcy Code all persons are

enjoined from “taking any action, whether inside or outside the United States, to obtain possession

of property of the estates or to exercise control over property, wherever located, of the Debtors’

estates or to interfere in any way with the conduct by the Debtors of their businesses, including,

without limitation, attempts to seize or reclaim any . . . other assets in which the Debtors have legal

or equitable interests . . . .” (Automatic Stay Order ¶ 2(d).)

                  26.   Thus, the “relevant inquiry is whether the Debtors have arguable claims of

right to the [Deposit], or a colorable basis for asserting an interest in the [Deposit].” In re ABC

Learning Ctrs. Ltd., 2011 WL 4899789, at *2 (Bankr. Del. Oct. 13, 2011).




{1368.002-W0070764.}                             -9-
               Case 22-11068-JTD       Doc 1417         Filed 05/03/23   Page 10 of 16




                  27.   A debtor’s interest in property is determined under non-bankruptcy law, and

federal bankruptcy law will dictate to what extent that interest is property of the estate. In re

Rosenshein, 136 B.R. 368 (Bankr. S.D.N.Y. 1992) (citing In re N.S. Garrott & Sons, 772 F.2d 462,

466 (8th Cir. 1985)). The relevant inquiry is whether the Debtors had a property interest in the

Deposit as of the Petition Date. See In re Shapiro, 124 B.R. 974, 980 (Bankr. E.D. Pa. 1991)

(“Property of the estate includes ‘all legal and equitable interests of the debtor in property as of

the commencement of the case.’ 11 U.S.C. § 541(a)”) (emphasis added).

                  28.   While the ultimate question of which party is entitled to the Deposit may be

more complex, the operative question as to whether FTX Canada has some colorable basis for

asserting an interest in it is straightforward. Factors generally considered most significant by

courts in determining a debtor’s interest in escrowed funds include whether all of the conditions

required to have the escrow released to the non-Debtor occurred as of the petition date and whether

the debtor delivered the funds into the escrow (and thus retained a legal interest in the property).

See, e.g., In re Rosenshein, 136 B.R. 368, 374 (Bankr. S.D.N.Y. 1992) (“Unless or until the

conditions of the escrow arrangement are satisfied, the debtors continue to have a beneficial

interest in the [escrow] fund, which interest constitutes property of the estate within the meaning

of 11 U.S.C. § 541.”); In re S.H. Leggitt Co., 2011 Bankr. LEXIS 1366, at *7-*8 (Bankr. W.D.

Tex. Apr. 12, 2011) (finding the fact that the “Debtor appears to have, at least, a contingent interest

in the Escrow Funds” under the relevant agreements adequate to hold that the “Debtor’s interest

is, at a minimum, ‘arguable property’ of the Debtor’s bankruptcy estate”); In re Missionary Baptist

Foundation of America, Inc., 792 F.2d 502, 506 (5th Cir. 1986) (“[W]here the contingent of the

escrow was not fulfilled prior to bankruptcy, the debtor holds an interest in the property”); In re

Shapiro, 124 B.R. at 980-82 (holding that escrowed funds were property of the estate on the




{1368.002-W0070764.}                             -10-
               Case 22-11068-JTD       Doc 1417         Filed 05/03/23   Page 11 of 16




grounds that the conditions for the release of the escrowed funds to the non-debtor party set forth

in the relevant agreements had not transpired as of the petition date and that the debtor as depositor

of the funds into the escrow retained “legal title to the fund”).

                  29.   Here, the premise of Pateno’s claim is that it sent the Termination Notice

after the passage of the Outside Date, on November 15, 2022. But there is no dispute that the

purported Termination Notice was sent on November 15, 2022—four days after FTX Canada filed

its petition in this Court—relying on Section 5.1(d) of the SPA following the occurrence of the

November 14, 2022 Outside Date. Thus, there can likewise be no dispute that the SPA had not

been terminated as of the Petition Date, and Pateno had not satisfied the conditions required for

the Deposit to be released under the terms of the SPA and the Escrow Agreement. Furthermore,

Pateno’s delivery of the Termination Notice post-petition was itself a violation of the automatic

stay because the SPA remained an executory contract on the Petition Date, and has in any event

had no effect. See In re Computer Commc'ns, Inc., 824 F.2d 725, 731 (9th Cir. 1987) (attempted

termination of joint marketing agreement violated stay even if agreement nonassumable); In re

Tudor Motor Lodge Associates, L.P., 102 B.R. 936, 948-51 (Bankr. D. N.J. 1989) (post-petition

efforts to terminate an executory contract constitute conduct in violation of the automatic stay).

                  30.   The inquiry then turns to whether FTX Canada had a property interest in

the Deposit on the Petition Date under the terms of the SPA. The answer is plainly yes. The SPA

specifically provides that FTX Canada is entitled to the return of the Deposit under any

circumstances other than upon the occurrence of certain conditions. (Ex. A at § 5.2(d).) As of the

Petition Date, the SPA was in full force and effect, and none of the applicable conditions had

occurred. Furthermore, the Escrow Agreement required a joint direction by Pateno and FTX

Canada prior to the release of any funds (Ex. B at § 3.3), and no joint direction was issued at any




{1368.002-W0070764.}                             -11-
               Case 22-11068-JTD        Doc 1417        Filed 05/03/23    Page 12 of 16




time prior to the Petition Date (or subsequently). The non-occurrence of these conditions leaves

FTX Canada with a clear property interest. See, e.g., In re Rosenshein, 136 B.R. at 374 (finding

non-occurrence of conditions to escrow critical in holding funds property of the estate).

                  31.   In addition, there is no dispute that FTX Canada delivered the Deposit to

the Escrow Agent, and pursuant to agreed terms, the Escrow Agreement provides that the Deposit

is held by the Escrow Agent at all times in the name of FTX Canada. (Ex. B at § 3.2.) Accordingly,

as various courts have recognized, the Debtors retained a property interest in the Deposit as of the

Petition Date, which constitutes property of the estate under section 541 of the Bankruptcy Code.

See, e.g., In re Shapiro, 124 B.R. at 980-81 (“a significant factor is whether the debtor was the

depositor of the escrowed fund, because, if the debtor is the depositor, legal title to the fund remains

in the debtor until delivery of the fund is effected by the escrow agent”).

                  32.   FTX Canada has far more than a “colorable” claim to ownership of the

Deposit. But critically, “[i]t is not necessary at this stage that the Debtors establish an ownership

interest in or title to the property[,] and the bankruptcy court need not make that determination at

the outset for the automatic stay to apply.” In re ABC Learning Ctrs. Ltd., 2011 WL 4899789, at

*2.

                  33.   All the Court needs to determine in order to enforce the stay is that there is

a meaningful and colorable dispute about whether the Deposit is part of the FTX Canada

bankruptcy estate. See In re Kaiser Aluminum Corp., Inc., 315 B.R. 655, 659 (D. Del. 2004)

(enforcing the automatic stay and rejecting creditor’s argument that debtor “has not demonstrated

that the property at issue is property of the estate, and [] contend[ing] that it is the rightful owner

of the premiums at issue”). “[B]ecause the [assets] likely constitute property of the bankruptcy




{1368.002-W0070764.}                             -12-
               Case 22-11068-JTD        Doc 1417         Filed 05/03/23    Page 13 of 16




estate, the bankruptcy court [may] properly enforce[] the automatic stay under 11 U.S.C.

§ 362(a)(3).” In re Nat’l Century Fin. Enters., Inc., 423 F.3d at 575.

                  34.   Importantly, enforcing the stay here will not deprive Pateno of anything to

which it is entitled. Pateno is free to file its claims in this Court and then will have the opportunity

to argue why it is entitled to release of the Deposit because it is not property of the Debtors’ estates.

Alternatively, Pateno can request relief from the automatic stay from this Court to pursue its claims

in Canada. But irrespective of the ultimate outcome on ownership, Pateno “cannot seize property

that is arguably part of the estate, and then defend its actions by stating it believes the debtor does

not have any interest in it, regardless of what the final determination on ownership of the property

is.” In re Manley Toys Ltd., 2018 WL 1033426, at *4 (Bankr. D.N.J. Feb. 14, 2018) (citing

Chesnut, 422 F.3d at 303), aff’d, 2019 WL 3229301 (D.N.J. July 18, 2019).

II.      PATENO’S VIOLATION OF THE AUTOMATIC STAY PREJUDICES THE
         DEBTORS’ CLAIM FOR RECOVERY OF THE DEPOSIT

                  35.   The SPA was, as of the Petition Date, an executory contract which the

Debtors were entitled to determine whether to assume or reject pursuant to section 365 of the

Bankruptcy Code. In re Exide Techs., 607 F.3d 957, 967 (3d Cir. 2010); In re Bildisco, 465 U.S.

513, 528 (1984) (“[T]he authority to reject an executory contract is vital to the basic purpose to a

Chapter 11 reorganization, because rejection can release the debtor’s estate from burdensome

obligations that can impede a successful reorganization.”). Pateno has not asserted that the SPA

automatically terminated (because it cannot) or was terminated prior to the Petition Date.

                  36.   Importantly, the Deposit would be returned to the Debtors under the terms

of the SPA if and when the Debtors reject that agreement. (See Ex. A. at § 5.2(d).) In that scenario,

Pateno would be entitled to assert a claim due to the rejection of the SPA, which would then be

addressed in the Debtors’ claims process in this Court at the appropriate time. In contrast, Pateno



{1368.002-W0070764.}                              -13-
               Case 22-11068-JTD       Doc 1417        Filed 05/03/23   Page 14 of 16




seeks through the Pateno Litigation the immediate release of the Deposit relying solely on non-

bankruptcy law and its purported Termination Notice. The need to consider both bankruptcy and

non-bankruptcy law, as well as the facts and circumstances facing the Debtors, is precisely why

the automatic stay centralizes claims against the Debtors in the bankruptcy court. McCartney, 106

F.3d 506 at 511. Permitting the Pateno Litigation to proceed unabated in the Canadian Court could

harm the ability of FTX Canada to recover the Deposit.

III.     PATENO’S WILLFUL VIOLATION OF THE AUTOMATIC STAY WARRANTS
         THE AWARD OF COSTS AND ATTORNEYS’ FEES

                  37.   Section 362(k)(1) of the Bankruptcy Code provides that “an individual

injured by any willful violation of the [automatic] stay . . . shall recover actual damages, including

costs and attorneys’ fees. . .. .” 11 U.S.C. § 362(k)(1). The Third Circuit has held that a corporate

debtor has standing under section 362(k) of the Bankruptcy Code to recover damages for willful

violations of the automatic stay. See Cuffee v. Atl. Bus. & Cmty. Dev. Corp. (In re Atl. Bus. &

Cmty. Dev. Corp.), 901 F.2d 325, 329 (3d Cir. 1990). A willful violation of the automatic stay

occurs when the offending party knows of the automatic stay and takes intentional action to violate

it. Id.; In re Lansdale Family Restaurants, 977 F.2d 826, 829 (3d Cir. 1992). Furthermore, a

willful violation of the automatic stay “does not require a specific intent to violate the automatic

stay . . . [but only] that the [offending party] knew of the automatic stay and that the [offending

party’s] actions which violated the automatic stay were intentional.” Cuffee, 901 F.2d at 329.

Pateno willfully violated the automatic stay by filing the Pateno Litigation with full knowledge of

the Debtors’ Chapter 11 Cases and the Debtors’ position with respect to the applicability of section

362(a) of the Bankruptcy Court no later than December 16, 2022. (See Ex. E.) Nor did Pateno

seek permission from this Court to file the Pateno Litigation in the Canadian Court two months

later, on February 16, 2023.



{1368.002-W0070764.}                            -14-
               Case 22-11068-JTD        Doc 1417        Filed 05/03/23   Page 15 of 16




                  38.    An award of attorneys’ fees and expenses to FTX Canada is appropriate

under the circumstances and given the importance of the worldwide automatic stay to the Debtors’

ongoing worldwide restructuring efforts.

                                   RESERVATION OF RIGHTS

                  39.    The Debtors expressly reserve, and do not waive, any and all of their rights,

claims, causes of action, remedies, and defenses, in any and all courts and jurisdictions, under law

or in equity, in connection with the SPA, the Deposit, the Bankruptcy Code, applicable law or

otherwise against Pateno, any of its affiliates and any and all third-parties.

                              NOTICE AND NO PRIOR REQUEST

                  40.    Notice of this Motion has been provided to: (a) the U.S. Trustee; (b) counsel

to the Committee; (c) the Securities and Exchange Commission; (d) the Internal Revenue Service;

(e) the United States Department of Justice; (f) the United States Attorney for the District of

Delaware; (g) counsel for Pateno; (h) counsel for the Escrow Agent; (i) and to the extent not listed

herein, those parties requesting notice pursuant to Bankruptcy Rule 2002. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be provided.

                  41.    No prior application for the relief requested herein has been made by the

Debtors to this or any other court.

                                            CONCLUSION

                  WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Order, substantially in the form of Exhibit 1, and (b) grant such other

and further relief as is just and proper.




{1368.002-W0070764.}                             -15-
               Case 22-11068-JTD   Doc 1417      Filed 05/03/23   Page 16 of 16




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{1368.002-W0070764.}                      -16-
